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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

 TAKEDA PHARMACEUTICALS
 AMERICA, INC., TAKEDA
 PHARMACEUTICALS U.S.A., INC., and
 ARIAD PHARMACEUTICALS, INC.,                       C.A. No. 2:21-cv-12998-KM-AME

                              Plaintiffs,
         v.

 APOTEX INC.,

                              Defendant.

                        ANSWER AND SEPARATE DEFENSES OF
                            DEFENDANT APOTEX INC.

        Defendant Apotex Inc. (“Apotex”), by and through its undersigned counsel, responds to

the First Amended Complaint filed by Plaintiff Takeda Pharmaceuticals America, Inc. (“TPA”),

Takeda Pharmaceuticals U.S.A., Inc. (“TPUSA”), and ARIAD Pharmaceuticals, Inc. (“Ariad”)

(collectively, “Takeda”) (ECF No. 34) as follows:




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                  RESPONSES AS TO THE NATURE OF THE ACTION1

       1.      Apotex admits that the Complaint purports to bring an action for patent

infringement under the patent laws of the United States, 35 U.S.C. § 100, et seq., and admits that

it submitted Abbreviated New Drug Application (“ANDA”) No. 215893 to the United States

Food and Drug Administration (“FDA”), but denies any remaining allegations of this paragraph.

Apotex avers that it filed ANDA No. 215893 with the FDA, seeking approval to commercially

market a pharmaceutical composition comprising 15 mg and 45 mg ponatinib hydrochloride.

                             RESPONSES AS TO THE PARTIES

       2.      Apotex lacks knowledge and information to form a belief as to the truth of the

allegations of this paragraph, and therefore denies them.

       3.      Apotex lacks knowledge and information to form a belief as to the truth of the

allegations of this paragraph, and therefore denies them.

       4.      Apotex lacks knowledge and information to form a belief as to the truths of the

allegations of this paragraph, and therefore denies them.

       5.      Apotex admits the allegations of this paragraph.

                       RESPONSES AS TO THE PATENTS-IN-SUIT

       6.      Apotex admits that U.S. Patent No. 9,493,470 (the “’470 patent”), issued on

November 15, 2016, is entitled “Crystalline forms of 3-(imidazo[1,2-B] pyridazin-3-ylethynyl)-

4-methyl-N-{4-[(4-methylpiperazin-1-yl) methyl]-3-(trifluoromethyl)phenyl}benzamide and its

mono hydrochloride salt,” with Christopher K. Murray, Leonard W. Rozamus, John J. Chaber,

and Pradeep Sharma as the listed inventors on the face of the ’470 patent. Apotex also admits




1
 Apotex denies any allegation that may be implied or inferred from the headings of Takeda’s
Complaint.


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that, according to the U.S. Patent and Trademark Office’s (“USPTO”) electronic records, Ariad

is the assignee of the ’470 patent. Apotex further admits that what appears to be an uncertified

copy of the ’470 patent was attached to Takeda’s Complaint as Exhibit A. Apotex denies the

remaining allegations of this paragraph.

       7.      Apotex admits that U.S. Patent No. 11,192,897 (the “’897 patent”), issued on

December 7, 2021, is entitled “Crystalline forms of 3-(imidazo[1,2-B] pyridazin-3-ylethynyl)-4-

methyl-N-{4-[(4-methylpiperazin-1-yl) methyl]-3-(trifluoromethyl)phenyl}benzamide and its

mono hydrochloride salt,” with Christopher K. Murray, Leonard W. Rozamus, John J. Chaber,

and Pradeep Sharma as the listed inventors on the face of the ’897 patent. Apotex also admits

that Ariad is listed as the assignee on the face of the ’897 patent. Apotex further admits that

what appears to be an uncertified copy of the ’897 patent was attached to Takeda’s Complaint as

Exhibit B. Apotex denies the remaining allegations of this paragraph.

       8.      Apotex admits that U.S. Patent No. 11,192,895 (the “’895 patent”), issued on

December 7, 2021, is entitled “Crystalline forms of 3-(imidazo[1,2-B] pyridazin-3-ylethynyl)-4-

methyl-N-{4-[(4-methylpiperazin-1-yl) methyl]-3-(trifluoromethyl)phenyl}benzamide and its

mono hydrochloride salt,” with Christopher K. Murray, Leonard W. Rozamus, John J. Chaber,

and Pradeep Sharma as the listed inventors on the face of the ’895 patent. Apotex also admits

that Ariad is listed as the assignee on the face of the ’895 patent. Apotex further admits that

what appears to be an uncertified copy of the ’895 patent was attached to Takeda’s Complaint as

Exhibit C. Apotex denies the remaining allegations of this paragraph.

                  RESPONSES AS TO THE ICLUSIG® DRUG PRODUCT

       9.      Apotex lacks knowledge and information to form a belief as to the truth of the

allegations of this paragraph, and avers that the New Drug Application (“NDA”) No. 203469




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speaks for itself with respect to its contents therein. To the extent this paragraph calls for a legal

conclusion, no response is required. Apotex further avers that ponatinib hydrochloride tablets

under approved NDA No. 203469 are marketed under the trade name ICLUSIG®, and that

ICLUSIG® is an FDA-approved medication indicated for the treatment of certain forms of

leukemia.

       10.     To the extent this paragraph calls for a legal conclusion, no response is required.

Insofar as any response is required, Apotex lacks knowledge and information to form a belief as

to the truth of the allegations of this paragraph, and therefore denies them.

       11.     Apotex admits that the ’470 patent is listed in the Approved Drug Products with

Therapeutic Equivalence Evaluations, with respect to ICLUSIG®. Apotex denies the remaining

allegations of this paragraph.

       12.     Apotex lacks knowledge and information to form a belief as to the truth of the

allegations of this paragraph, and therefore denies them.

       13.     Apotex lacks knowledge and information to form a belief as to the truth of the

allegations of this paragraph, and therefore denies them.

       14.     Apotex lacks knowledge and information to form a belief as to the truth of the

allegations of this paragraph, and therefore denies them.

                  RESPONSES AS TO THE JURISDICTION AND VENUE

       15.     This paragraph calls for a legal conclusion, and therefore no response is required.

Insofar as any response is required, for the limited purpose of this action only, Apotex does not

contest that this Court has subject matter jurisdiction over Takeda’s claims.

       16.     Apotex lacks knowledge and information to form a belief as to the truth of the

allegations of this paragraph, and therefore denies them. Apotex avers that Apotex is a




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pharmaceutical company that produces high-quality affordable medicines (both generic and

innovative pharmaceuticals) for patients around the world.

        17.     To the extent this paragraph calls for a legal conclusion, no response is required.

For the limited purpose of this action only, Apotex does not contest personal jurisdiction in this

judicial district. Apotex denies the remaining allegations of this paragraph.

        18.     To the extent this paragraph calls for a legal conclusion, no response is required.

For the limited purpose of this action only, Apotex does not contest personal jurisdiction in this

judicial district. Apotex denies the remaining allegations of this paragraph.

        19.     To the extent this paragraph calls for a legal conclusion, no response is required.

For the limited purpose of this action only, Apotex does not contest personal jurisdiction in this

judicial district. Apotex denies the remaining allegations of this paragraph.

        20.     To the extent this paragraph calls for a legal conclusion, no response is required.

For the limited purpose of this action only, Apotex does not contest personal jurisdiction in this

judicial district. Apotex denies the remaining allegations of this paragraph, and avers that it has

previously been sued in, asserted counterclaims in suits brought in, and initiated litigation in this

Judicial District.

        21.     To the extent this paragraph calls for a legal conclusion, no response is required.

For the limited purpose of this action only, Apotex does not contest personal jurisdiction in this

judicial district. Apotex admits it has previously been sued in this Judicial District and has

asserted counterclaims in suits brought in New Jersey. Apotex denies the remaining allegations

of this paragraph.

        22.     To the extent this paragraph calls for a legal conclusion, no response is required.

For the limited purpose of this action only, Apotex does not contest personal jurisdiction in this




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judicial district. Apotex admits it has initiated litigation in this Judicial District. Apotex denies

the remaining allegations of this paragraph.

        23.      To the extent this paragraph calls for a legal conclusion, no response is required.

For the limited purpose of this action only, Apotex does not contest personal jurisdiction in this

judicial district. Apotex denies the remaining allegations of this paragraph.

        24.      To the extent this paragraph calls for a legal conclusion, no response is required.

For the limited purpose of this action only, Apotex does not contest personal jurisdiction in this

judicial district.

        25.      To the extent this paragraph calls for a legal conclusion, no response is required.

For the limited purpose of this action only, Apotex does not contest venue in this judicial district.

Apotex denies the remaining allegations of this paragraph.

                     RESPONSES AS TO APOTEX’S ANDA SUBMISSION

        26.      Apotex admits Apotex sent a letter dated May 14, 2021 (“Apotex Letter”) stating

that Apotex had submitted ANDA No. 215893 to the FDA to obtain approval to engage in the

commercial manufacture, use, or sale of 15 mg and 45 mg ponatinib hydrochloride tablets before

the expiration of the ’470 patent.2 Apotex denies the remaining allegations of this paragraph.

        27.      Apotex admits the allegations of this paragraph.

        28.      Apotex admits the allegations of this paragraph.




2
  Plaintiffs’ inclusion of a footnote does not comply with Federal Rule of Civil Procedure 10(b),
requiring that allegations be stated “in numbered paragraphs, each limited as far as practicable to
a single set of circumstances.” As such, no response is required. Moreover, to the extent
Plaintiffs’ footnote calls for a legal conclusion, no response is required. To the extent a response
is required, Apotex lacks knowledge and information to form a belief as to the truth of the
allegations of this footnote, and therefore denies them.


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          29.      Apotex lacks knowledge and information to form a belief as to the truth of the

allegations of this paragraph, and therefore denies them.

          30.      To the extent this paragraph calls for a legal conclusion, no response is required.

Insofar as any response is required, Apotex denies the allegations of this paragraph, and avers

that its product is therapeutically equivalent to the Plaintiffs’ ICLUSIG® product.

          31.      Apotex admits that the Apotex Letter alleges, inter alia, that the claims of the

’470 patent are invalid and/or will not be infringed by the activities described in Apotex’s

ANDA. Apotex denies the remaining allegations of this paragraph.

          32.      To the extent this paragraph calls for a legal conclusion, no response is required.

Apotex admits that the Court’s Pretrial Scheduling Order (ECF No. 25) requires Plaintiffs to

amend its complaint to add new patents and disclosure of asserted claims with respect to new

patents 10 days after issuance of the patents. Insofar as any further response is required, Apotex

lacks knowledge and information to form a belief as to the truth of the allegations of this

paragraph, and therefore denies them.

                                   RESPONSES AS TO COUNT I
                As to the Alleged Infringement of U.S. Patent No. 9,493,470 by Apotex

          33.      Apotex incorporates its responses to the preceding paragraphs as if fully set forth

herein.

          34.      To the extent this paragraph calls for a legal conclusion, no response is required.

Insofar as any response is required, Apotex denies the allegations of this paragraph.

          35.      To the extent this paragraph calls for a legal conclusion, no response is required.

Insofar as any response is required, Apotex denies the allegations of this paragraph.

          36.      Apotex admits the allegations of this paragraph.




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       37.      Apotex lacks knowledge and information to form a belief as to the truth of the

allegations of this paragraph, and therefore denies them.

       38.      Apotex lacks knowledge and information to form a belief as to the truth of the

allegations of this paragraph, and therefore denies them.

       39.      Apotex admits the allegations of this paragraph.

       40.      To the extent this paragraph calls for a legal conclusion, no response is required.

Insofar as any response is required, Apotex lacks knowledge and information to form a belief as

to the truth of the allegations of this paragraph.

       41.      To the extent this paragraph calls for a legal conclusion, no response is required.

Insofar as any response is required, Apotex denies the allegations of this paragraph.

       42.      To the extent this paragraph calls for a legal conclusion, no response is required.

Insofar as any response is required, Apotex denies the allegations of this paragraph.

       43.      To the extent this paragraph calls for a legal conclusion, no response is required.

Insofar as any response is required, Apotex denies the allegations of this paragraph.

       44.      To the extent this paragraph calls for a legal conclusion, no response is required.

Insofar as any response is required, Apotex lacks knowledge and information to form a belief as

to the truth of the allegations of this paragraph, and therefore denies them.

       45.      To the extent this paragraph calls for a legal conclusion, no response is required.

Insofar as any response is required, Apotex denies the allegations of this paragraph.

       46.      To the extent this paragraph calls for a legal conclusion, no response is required.

Insofar as any response is required, Apotex denies the allegations of this paragraph.

                                 RESPONSES AS TO COUNT II
             As to the Alleged Infringement of U.S. Patent No. 11,192,897 by Apotex




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          47.   Apotex incorporates its responses to the preceding paragraphs as if fully set forth

herein.

          48.   To the extent this paragraph calls for a legal conclusion, no response is required.

Insofar as any response is required, Apotex denies the allegations of this paragraph.

          49.   To the extent this paragraph calls for a legal conclusion, no response is required.

Insofar as any response is required, Apotex denies the allegations of this paragraph.

          50.   Apotex admits the allegations of this paragraph.

          51.   Apotex lacks knowledge and information to form a belief as to the truth of the

allegations of this paragraph, and therefore denies them.

          52.   Apotex lacks knowledge and information to form a belief as to the truth of the

allegations of this paragraph, and therefore denies them.

          53.   Apotex admits the allegations of this paragraph.

          54.   Apotex lacks knowledge and information to form a belief as to the truth of the

allegations of this paragraph, and therefore denies them.

          55.   Apotex admits the allegations of this paragraph.

          56.   Apotex lacks knowledge and information to form a belief as to the truth of the

allegations of this paragraph, and therefore denies them.

          57.   Apotex admits the allegations of this paragraph.

          58.   Apotex lacks knowledge and information to form a belief as to the truth of the

allegations of this paragraph, and therefore denies them.

          59.   Apotex admits the allegations of this paragraph.




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           60.      To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex lacks knowledge and information to form a belief as

 to the truth of the allegations of this paragraph.

           61.      Apotex admits the allegations of this paragraph.

           62.      To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex lacks knowledge and information to form a belief as

 to the truth of the allegations of this paragraph.

           63.      To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex denies the allegations of this paragraph.

           64.      To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex denies the allegations of this paragraph.

           65.      To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex denies the allegations of this paragraph.

           66.      To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex lacks knowledge and information to form a belief as

 to the truth of the allegations of this paragraph, and therefore denies them.

           67.      To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex denies the allegations of this paragraph.

           68.      To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex denies the allegations of this paragraph.

                                    RESPONSES AS TO COUNT III
                 As to the Alleged Infringement of U.S. Patent No. 11,192,895 by Apotex

           69.      Apotex incorporates its responses to the preceding paragraphs as if fully set forth

 herein.


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         70.       To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex denies the allegations of this paragraph.

         71.       To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex denies the allegations of this paragraph.

         72.       Apotex admits the allegations of this paragraph.

         73.       To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex lacks knowledge and information to form a belief as

 to the truth of the allegations of this paragraph.

         74.       Apotex denies the allegations of this paragraph and avers that Claim 7 of the ’895

 patent recites:

                   A method for treating acute phase chronic myeloid leukemia in a
                   subject in need thereof comprising administering to the subject a
                   therapeutically effective amount of a pharmaceutical composition
                   comprising at least one crystalline form of ponatinib
                   hydrochloride characterized by:

                      a) an x-ray powder diffraction pattern comprising at least
                      three 2θ values (±0.3) chosen from 5.9, 7.1, 10.0, 12.5, 13.6,
                      14.1, 15.0, 16.4, 17.7, 18.6, 19.3, 20.4, 21.8, 22.3, 23.8, 24.9,
                      26.1, 27.0, 28.4, 30.3, 31.7, and 35.1;

                      b) an x-ray powder diffraction pattern comprising at least
                      three 2θ values (±0.3) chosen from 3.1, 6.5, 12.4, 13.8, 15.4,
                      16.2, 17.4, 18.0, 20.4, 23.2, 24.4, 26.1, and 26.9;

                      c) an x-ray powder diffraction pattern comprising at least
                      three 2θ values (±0.3) chosen from 3.1, 6.5, 12.4, 13.8, 17.4,
                      18.0, 20.6, 22.0, 23.0, 25.5, 26.5, 27.4, 28.4, and 29.0;

                      d) an x-ray powder diffraction pattern comprising at least
                      three 2θ values (±0.3) chosen from 8.2, 10.1, 10.9, 14.9, 16.0,
                      16.3, 16.8, 17.7, 18.7, 20.2, 22.9, 24.0, 25.6, 26.7, and 28.5

                      e) an x-ray powder diffraction pattern substantially as shown
                      in FIG. 41 labelled HCl1 + HCl4 (GRP1.1);

                      f) an x-ray powder diffraction pattern comprising at least


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                    three 2θ values (±0.3) chosen from 7.9, 8.7, 9.7, 11.4, 15.6,
                    16.5, and 25.8;

                    g) an x-ray powder diffraction pattern substantially as shown
                    in FIG. 41 labelled HCl5b (VDS28.2);

                    h) an x-ray powder diffraction pattern comprising at least
                    three 2θ values (±0.3) chosen from 8.0, 10.2, 10.9, 11.8, 14.1,
                    15.4, 16.3, 19.9, 22.3, 23.7, 25.0, and 28.2;

                    i) an x-ray powder diffraction pattern comprising at least
                    three 2θ values (±0.3) chosen from 6.1, 7.0, 13.3, 16.4, 20.7,
                    22.2, 23.9, 25.5, and 29.1; or

                    j) an x-ray powder diffraction pattern comprising at least
                    three 2θ values (±0.3) chosen from 6.1, 7.4, 13.5, 17.4, 18.5,
                    20.7, 23.9, and 28.3.

        75.     To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex lacks knowledge and information to form a belief as

 to the truth of the allegations of this paragraph.

        76.     Apotex admits the allegations of this paragraph.

        77.     To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex lacks knowledge and information to form a belief as

 to the truth of the allegations of this paragraph.

        78.     Apotex admits the allegations of this paragraph.

        79.     To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex lacks knowledge and information to form a belief as

 to the truth of the allegations of this paragraph.

        80.     To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex denies the allegations of this paragraph.

        81.     To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex denies the allegations of this paragraph.


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        82.     To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex denies the allegations of this paragraph.

        83.     To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex lacks knowledge and information to form a belief as

 to the truth of the allegations of this paragraph, and therefore denies them.

        84.     To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex denies the allegations of this paragraph.

        85.     To the extent this paragraph calls for a legal conclusion, no response is required.

 Insofar as any response is required, Apotex denies the allegations of this paragraph.

                      ANSWER TO TAKEDA’S PRAYER FOR RELIEF

        The remainder of Takeda’s Complaint is a prayer for relief, and does not require a

 response. To the extent any response is required, Apotex denies that Takeda is entitled to any

 relief whatsoever against Apotex in this action, either as prayed for in the Complaint or

 otherwise.

                                     SEPARATE DEFENSES

        Apotex asserts the following defenses to the Complaint, without prejudice to the denials

 in this Answer, and without admitting any allegations of the Complaint not otherwise admitted.

 Apotex reserves the right to assert additional defenses, as warranted by facts learned through

 investigation and discovery. Assertion of a defense is not a concession that Apotex has the

 burden of proving the matter asserted.

                                  FIRST SEPARATE DEFENSE
                                    (Failure to State a Claim)

        Takeda’s claims are barred in whole or in part because Takeda has not stated a claim

 upon which relief can be granted.



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                               SECOND SEPARATE DEFENSE
                                 (Invalidity of the ’470 Patent)

        Upon information and belief, the claims of the ’470 patent are invalid under 35 U.S.C. §§

 101, 102, 103, and/or 112 and general principles of patent law.

                               THIRD SEPARATE DEFENSE
                             (Non-Infringement of the ’470 Patent)

        No acts by any entity related to Apotex have infringed, infringe, or will infringe any valid

 claim of the ’470 patent.

                               FOURTH SEPARATE DEFENSE
                                 (Invalidity of the ’897 Patent)

        Upon information and belief, the claims of the ’897 patent are invalid under 35 U.S.C. §§

 101, 102, 103, and/or 112 and general principles of patent law.

                                FIFTH SEPARATE DEFENSE
                             (Non-Infringement of the ’897 Patent)

        No acts by any entity related to Apotex have infringed, infringe, or will infringe any valid

 claim of the ’897 patent.

                                SIXTH SEPARATE DEFENSE
                                 (Invalidity of the ’895 Patent)

        Upon information and belief, the claims of the ’895 patent are invalid under 35 U.S.C. §§

 101, 102, 103, and/or 112 and general principles of patent law.

                              SEVENTH SEPARATE DEFENSE
                             (Non-Infringement of the ’895 Patent)

        No acts by any entity related to Apotex have infringed, infringe, or will infringe any valid

 claim of the ’895 patent.

                               EIGHTH SEPARATE DEFENSE

        Any additional defenses that discovery may reveal.




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                                        PRAYER FOR RELIEF

        WHEREFORE, Apotex prays for relief as follows:

        A.      That Takeda takes nothing by its claims for relief;

        B.      That Takeda’s Complaint be dismissed with prejudice and that Takeda’s requests

 for relief be denied with prejudice;

        C.      That the Court enter judgment against Takeda and in Apotex’s favor in all

 respects;

        D.      That the Court enter judgment that Claims 1-17 of the ’470 patent are invalid;

        E.      That the Court enter judgment that the manufacture, use, sale, offer for sale, or

 importation into the United States of the ANDA Products have not infringed, do not infringe, and

 would not, if marketed, infringe any valid and enforceable claim of the ’470 patent;

        F.      That the Court enter judgment that Claims 1-23 of the ’897 patent are invalid;

        G.      That the Court enter judgment that the manufacture, use, sale, offer for sale, or

 importation into the United States of the ANDA Products have not infringed, do not infringe, and

 would not, if marketed, infringe any valid and enforceable claim of the ’897 patent;

        H.      That the Court enter judgment that Claims 1-24 of the ’895 patent are invalid;

        I.      That the Court enter judgment that the manufacture, use, sale, offer for sale, or

 importation into the United States of the ANDA Products have not infringed, do not infringe, and

 would not, if marketed, infringe any valid and enforceable claim of the ’895 patent;

        J.      That the Court enter judgment that the FDA may approve ANDA No. 215893

 concerning Apotex’s ponatinib hydrochloride oral tablets, 15 mg and 45 mg, whenever that

 application is otherwise in condition for approval, without awaiting any further order, judgment,

 or decree of the Court; that the judgment entered in this case is a judgment reflecting a decision




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 that the Patents-in-Suit are invalid and/or not infringed pursuant to 21 U.S.C.

 § 355(j)(5)(B)(iii)(I)(aa); and that the thirty-month period referred to in 21 U.S.C.

 § 355(j)(5)(B)(iii) and any other marketing exclusivity periods to which Takeda might otherwise

 be entitled (including any pediatric exclusivity) are shortened to expire upon the date of entry of

 judgment in this case;

           K.   That the Court declare this case is exceptional under 35 U.S.C. § 285, and award

 Apotex its attorneys’ fees and costs incurred in this action; and

           L.   For an award of such other and further relief as the Court may deem just and

 proper.


                                                    Respectfully submitted,

                                                    SAIBER LLC
                                                    Attorneys for Defendant
                                                    Apotex Inc.

  Dated: December 27, 2021                      By: __/s/ Arnold B. Calmann________
                                                   Arnold B. Calmann (abc@saiber.com)
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